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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.

DR. DAMIEN D. MAHARAJ,
Derivatively on behalf of GATOS SILVER, INC.,

        Plaintiff,

        v.

JANICE STAIRS, KARL HANNEMAN,
DAVID PEAT, CHARLES HANSARD,
IGOR GONZALES, ALI ERFAN,
DANIEL MUÑIZ QUINTANILLA,
and STEPHEN ORR,

        Defendants,

        - and -

GATOS SILVER, INC.,

        Nominal Defendant.


                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT


       Plaintiff Dr. Damien D. Maharaj (“Plaintiff”), by and through his undersigned attorneys,

brings this derivative complaint for the benefit of nominal defendant Gatos Silver, Inc. (“herein

referred to as “Gatos” or the “Company”), against its Board of Directors (the “Board”) and certain

of its executive officers seeking to remedy the Individual Defendants’ (defined below) breaches

of fiduciary duties and violations of federal law. Plaintiff alleges the following based upon personal

knowledge as to himself and his own acts, and information and belief as to all other matters, based

upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which included,
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among other things, a review of the Company’s publicly available documents, including the

allegations of the class action complaint filed in a securities class action, captioned Bilinsky v.

Gatos Silver, Inc., et al, Case No.: 1:22-cv-00453 (D. Colo. Feb. 22, 2022) (the “Securities Class

Action”), conference call transcripts and announcements, filings with the United States Securities

and Exchange Commission (the “SEC”), press releases published by and regarding Gatos, legal

filings, news reports, securities analysts’ reports about the Company, and other publicly available

information.

                                 NATURE OF THE ACTION

       1.      This is a shareholder derivative action brought on behalf of Gatos against certain

officers and members of the Company’s Board for breaches of their fiduciary duties between at

least March 29, 2021 and January 25, 2022 (the “Relevant Period”) and violations of the federal

securities laws caused by the issuance of materially false and misleading statements in connection

with, among other things, the Company’s initial public offering (the “IPO”). These statements

have exposed the Company to massive class-wide liability as well as the expenditure of substantial

defense costs in connection with the Securities Class Action, as set forth below.

       2.      Gatos is a mining company that primarily focuses on the production of silver and

zinc. The Company’s primary operations involve the exploration and development of the Cerro

Los Gatos (“CLG”) mine in Chihuahua, Mexico, in collaboration with Dowa Metals and Mining

Co., Ltd. (the “Los Gatos Joint Venture” or “LGJV”).

       3.      On October 1, 2020, the Company filed a Registration Statement with the SEC in

connection with the IPO. After several amendments, the Registration Statement was declared

effective October 27, 2020. On October 29, 2020, Gatos filed its prospectus on Form 424B4 with



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the SEC which was incorporated into the Registration Statement. In the IPO, the Company sold

roughly 24,644,500 shares of its common stock at a price of $7.00 per share, generating net

proceeds of approximately $156.1 million.

       4.      The Registration Statement heavily cited the mineral reserve estimates and the

economic analysis the NI 43-101 Technical Report: Los Gatos Project, Chihuahua, Mexico,”

prepared by Tetra Tech Inc., dated July 1, 2020 (the “Los Gatos Technical Report”), which was

appended as an exhibit to the Registration Statement. While warning that the estimates contained

in the Los Gatos Technical Reports were “only estimates,” the Individual Defendants represented

that the commencement of mining operations would allow the Company to assess the accuracy of

such estimates.

       5.      Throughout the Relevant Period, the Individual Defendants (defined below) issued

and/or caused to be issued, materially false and misleading statements that the activities and results

at the CLG mine “would not result in a material change to the information contained in the Los

Gatos Technical Report,” thereby supporting the purported reliability of the estimates in the Los

Gatos Technical Report.

       6.      On January 25, 2022, after the market closed, however, the Company disclosed

“errors in the [LGJV] technical report . . . , as well as indications that there is an overestimation in

the existing resource model.” The Company further revealed that it had overestimated the metal

content in the CLG mine by 30% to 50%.

       7.      On this news, the price of Gatos Silver stock declined a staggering 69% in one day,

closing at $3.17 per share on January 26, 2022 on unusually heavy trading volume.

       8.      As a result of the foregoing, the Securities Class Action was filed against the



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Company and certain current and former officers and members of the Board, exposing the

Company to massive class-wide liability.

                                JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Sections 10(b) and 21D of the Securities Exchange

Act of 1934 (the “Securities Exchange Act”) (15 U.S.C. §§ 78j(b) and 78u-4(f)), and Section 11(f)

of the Securities Act of 1933 (the “Securities Act”) (15 U.S.C. § 77k(f)(1)), and Section 21D of

the Exchange Act (15 U.S.C. §).

       10.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       11.     This action is not a collusive action designed to confer jurisdiction on a court of the

United States that it would not otherwise have.

       12.     In connection with the acts, conduct and other wrongs complained of herein, the

Individual Defendants, directly or indirectly, used the means and instrumentalities of interstate

commerce, the United States mail, and the facilities of a national securities market.

       13.     Venue is proper in this District pursuant to Section 27(a) of the Securities Exchange

Act and 28 U.S.C. §1391(b)(1), as Gatos is headquartered in this District and a substantial portion

of the acts and omissions alleged herein, including the dissemination of materially false and

misleading information, occurred in this District.

                                            PARTIES

       14.     Plaintiff holds shares of Gatos and has been a continuous holder of the Company’s

common shares since January 2021.



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       15.     Nominal Defendant Gatos is a Delaware corporation with its principal executive

offices located at 8400 E Crescent Pkwy Ste 600, Greenwood Village, Colorado 80111. Gatos’s

common stock is traded on the New York Stock Exchange (“NYSE”) under the ticker symbol

“GATO.”

       16.     Defendant Janice Stairs (“Stairs”) has served as a member of the Board since

October 2019 and as Chair of the Board since October 2020. Defendant Stairs serves as a member

of the Audit Committee. According to the Company’s public filings, Defendant Stairs received

$313,054 in 2021 in compensation from the Company.

       17.     Defendant Karl Hanneman (“Hanneman”) has served as a member of the Board

since October 2019 and serves as Chair of the Compensation and Nominating Committee and as a

member of the Technical, Environmental, Health and Safety Committee. According to the

Company’s public filings, Defendant Hanneman received $275,637 in 2021 in compensation from

the Company.

       18.     Defendant David Peat (“Peat”) has served as a member of the Board since

September 2011 and serves as Chair of the Audit Committee. According to the Company’s public

filings, Defendant Peat received $280,274 in 2021 in compensation from the Company.

       19.     Defendant Charles Hansard (“Hansard”) has served as a member of the Board since

October 2020 and serves as a member of the Audit Committee. According to the Company’s public

filings, Defendant Hansard received $235,242 in 2021 in compensation from the Company.

       20.     Defendant Igor Gonzales (“Gonzales”) has served as a member of the Board since

June 2020 and serves as Chair of the Technical, Environmental, Health and Safety Committee and




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as a member of the Compensation and Nominating Committee. According to the Company’s

public filings, Defendant Gonzales received $251,519 in 2021 in compensation from the Company.

       21.     Defendant Ali Erfan (“Erfan”) has served as a member of the Board since May

2019 and serves as a member of the Compensation and Nominating Committee. According to the

Company’s public filings, Defendant Erfan received $262,001 in 2021 in compensation from the

Company.

       22.     Defendant Daniel Muñiz Quintanilla (“Quintanilla”) has served as a member of the

Board since April 2021 and serves as a member of the Technical, Environmental, Health and

Safety Committee. According to the Company’s public filings, Defendant Quintanilla received

$152,490 in 2021 in compensation from the Company.

       23.     Defendant Stephen Orr (“Orr”) served as a member of the Board from May 2011

and as Gatos’s Chief Executive Officer (“CEO”) from June 2011 until his departure from the

Company in April 2022. According to the Company’s public filings, Defendant Orr received

$2,055,335 in 2021 in compensation from the Company.

       24.     The defendants identified in paragraphs 15 through 22 are collectively referred to

herein as the “Individual Defendants.”

                 THE INDIVIDUAL DEFENDANTS’ FIDUCIARY DUTIES

       25.     By reason of their positions as officers, directors and/or fiduciaries of Gatos, and

because of their ability to control the business and corporate affairs of the Company, at all relevant

times, the Individual Defendants owed Gatos and its shareholders fiduciary obligations of good

faith, loyalty, and candor, and were required to use their utmost ability to control and manage the

Company in a fair, just, honest, and equitable manner.



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        26.      The Individual Defendants were required to act in furtherance of the best interests

of Gatos and its shareholders so as to benefit all shareholders equally and not in furtherance of

their own personal interest or benefit.

        27.      Each director and officer of the Company owes to Gatos and its shareholders a

fiduciary duty to exercise good faith and diligence in the administration of the affairs of the

Company and in the use and preservation of its property and assets, and the highest obligations of

fair dealing.

        28.      The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Gatos, were able to and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein. Because of their advisory, executive, managerial,

and directorial positions with Gatos, each of the Individual Defendants had knowledge of material

non-public information regarding the Company. To discharge their duties, the officers and

directors of Gatos were required to exercise reasonable and prudent supervision over the

management, policies, practices, and controls of the Company. By virtue of such duties, the

officers and directors of Gatos were required to, among other things:

              a. Exercise good faith to ensure that the affairs of the Company were

                 conducted in an efficient, business-like manner so as to make it possible to

                 provide the highest quality performance of their business;

              b. Exercise good faith to ensure that the Company was operated in a diligent,

                 honest, and prudent manner and complied with all applicable district and

                 state laws, rules, regulations and requirements, and all contractual

                 obligations, including acting only within the scope of its legal authority;



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             c. Exercise good faith to ensure that the Company’s communications with the

                public and with shareholders are made with due candor in a timely and

                complete fashion; and

             d. When put on notice of problems with the Company’s business practices and

                operations, exercise good faith in taking appropriate action to correct the

                misconduct and prevent its recurrence.

       29.      The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by Gatos.

       30.      Each of the Individual Defendants breached his or her fiduciary duties as alleged

herein, both individually and in concert with the other Defendants.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       31.      In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and/or assisted each other in breaching their respective duties.

       32.      The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty and unjust enrichment.

       33.      The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully, recklessly, or negligently



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to conceal material facts, fail to correct such misrepresentations, and violate applicable laws.

           34.      In furtherance of this plan, conspiracy, and course of conduct, the Individual

Defendants collectively and individually took the actions set forth herein. Because the actions

described herein occurred under the authority of the Board, each of the Individual Defendants,

who are directors or officers of Gatos, was a direct, necessary, and substantial participant in the

conspiracy, common enterprise, and/or common course of conduct complained of herein.

           35.      Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each Individual Defendant acted with actual

or constructive knowledge of the primary wrongdoing, either took direct part in, or substantially

assisted the accomplishment of that wrongdoing, and was or should have been aware of his or her

overall contribution to and furtherance of the wrongdoing.

           36.      At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Gatos and at all times acted within the course and

scope of such agency.

                     GATOS’S CODE OF BUSINESS CONDUCT AND ETHICS

           37.      Gatos’s Code of Business Conduct and Ethics (the “Code of Conduct”) begins with

a commitment “to high standards of ethical conduct and integrity in everything that we do”

(emphasis in original). 1

           38.      The Code of Conduct applies to all “directors, officers, and employees,” but

“directors, officers and other managers, in particular, have a special responsibility to lead


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    Unless indicated otherwise, all emphasis in this Complaint is added.


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according to the standards in the Code.” Violations of the Code of Conduct may result in “prompt

disciplinary action, up to and including dismissal for cause.”

       39.      In a section titled “Our Corporate Responsibility” (emphasis in original), the

Code of Conduct states, in relevant part: “You should comply with all applicable laws, rules and

regulations wherever we do business.”

       40.      In a section titled “We Abide by the Law” (emphasis in original), the Code of

Conduct states, in relevant part:

       Books and Records. Gatos is required to make sure that its books and records
       accurately and fairly represent transactions and dispositions of our assets in
       reasonable detail. It is a violation of company policy, and possibly illegal, for any
       employee to cause our books and records to be inaccurate in any way. You must
       never create or participate in the creation of records that are misleading or artificial,
       and should cooperate fully with our internal and independent auditors and
       management in ensuring that we fulfill our responsibilities. Any attempt to unduly
       or fraudulently influence, coerce, manipulate or mislead the Company or its
       independent or internal auditors regarding our financial statements, accounting
       practices or internal controls is a violation of the Code. In addition, you must strictly
       adhere to the following requirements:

             Accurate and Timely Disclosure of Information. Gatos is committed to full
             compliance with all relevant disclosure requirements applicable to a publicly
             traded company, and has implemented disclosure controls and procedures to
             assure that its public disclosures will be timely, compliant and otherwise full,
             fair, accurate and understandable. Those who are responsible for preparing
             Gatos’ public disclosures or who provide information as part of that process,
             are responsible for ensuring that such disclosures are complete, accurate and
             comply with those disclosure controls and procedures.

       41.      The Code of Conduct ends with a Form of Acknowledgement to be Signed by

Directors and Executive Officers, which includes the commitment to “[a]ct in good faith,

responsibly, with due care, competence and diligence, and without misrepresenting material facts

or circumstances.”




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                            GATOS’S AUDIT COMMITTEE CHARTER

       42.          Gatos’s Audit Committee Charter states that the purpose of the Audit Committee

is to “assist the Board of Directors in discharging its responsibility relating to . . . Financial

Reporting and Audit . . . [and] Financial Oversight.”

       43.          In a section titled “Financial Reporting and Audit” (emphasis in original), the

Audit Committee Charter states that the Audit Committee shall:

       [O]versee the Financial Reporting and Audit functions of the Company including:

             (i) the integrity of the Company’s financial statements and financial reporting
             process and the Company’s systems of internal accounting and financial
             controls;

                                                   ***
             (v) the compliance by the Company with legal and regulatory requirements
             relating to financial, accounting, auditing and related matters;
             (vi) the implementation and effectiveness of the Company’s disclosure
             controls and procedures and internal control over financial reporting;
             (vii) the prevention and detection of fraudulent activities.

       44.          In a subsection titled “Oversight of Internal Control over Financial Reporting”

(emphasis in original), the Audit Committee charter states, in relevant part:

       The Committee shall review with management, including the Chief Executive
       Officer and Chief Financial Officer, and the independent auditors, the Company’s
       overall system of internal control, including management’s annual assessment of
       the Company’s internal control over financial reporting and the related report issued
       by the independent auditors. The Committee shall also review with management,
       including the Chief Executive Officer and Chief Financial Officer, and the
       independent auditors:

             (i)       any significant deficiencies and material weaknesses in the design or
                       operation of the Company’s internal control over financial reporting that
                       are reasonably likely to affect the Company’s ability to record, process,
                       summarize and report financial information;
             (ii)      any fraud (regardless of materiality) involving management or other
                       employees having a significant role in internal control over financial
                       reporting; and


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             (iii)   changes in the Company’s internal control over financial reporting
                     during the most recent fiscal quarter that have materially affected, or are
                     reasonably likely to materially affect, such internal control over
                     financial reporting.

       45.       In a subsection titled “Review of Disclosure Controls and Procedures” (emphasis

in original), the Audit Committee Charter states:

       The Committee shall review with the Chief Executive Officer and the Chief
       Financial Officer the Company’s disclosure controls and procedures and shall
       review periodically, but in no event less frequently than quarterly, management’s
       conclusions about the effectiveness of such disclosure controls and procedures,
       including any significant deficiencies in, or material non-compliance with, such
       disclosure controls and procedures.

       46.       In a subsection titled “Review of Annual SEC Filings” (emphasis in original), the

Audit Committee Charter states, in relevant part:

       The Committee shall review with management and the independent auditors the
       financial information to be included in the Company’s Annual Report on Form 10-
       K (or the annual report to stockholders if distributed prior to the filing of the Form
       10-K) and the Company’s filings with Canadian securities regulators, including the
       disclosures under “Management’s Discussion and Analysis of Financial Condition
       and Results of Operations,” their judgment about the quality, not just acceptability,
       of accounting principles, the reasonableness of significant judgments made in the
       preparation of the financial statements, the clarity of the disclosures therein and the
       adequacy of internal controls.

       47.       In a subsection titled “Review of Quarterly Filings” (emphasis in original), the

Audit Committee Charter states:

       The Committee shall review and discuss with management and the independent
       auditors the quarterly financial information to be included in the Company’s
       Quarterly Reports on Form 10-Q and corresponding filings with Canadian
       securities regulators, including the disclosures under “Management’s Discussion
       and Analysis of Financial Condition and Results of Operations,” and shall discuss
       any other matters required to be communicated to the Committee by the
       independent auditors under applicable standards of the PCAOB (United States) and
       corresponding Canadian requirements or applicable law or listing standards.




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                              SUBSTANTIVE ALLEGATIONS

Background of the Company

       48.    Gatos is a U.S.-based mining company that primarily focuses on the production of

silver and zinc. The Company’s primary operations involve the exploration and development of

the CLG mine in Chihuahua, Mexico, in collaboration with Dowa Metals and Mining Co., Ltd.

       49.    On October 1, 2020, Gatos filed a Registration Statement with the SEC in

connection with the IPO. After several amendments, the Registration Statement was declared

effective October 27, 2020. On October 29, 2020, Gatos filed its prospectus on Form 424B4 with

the SEC which was incorporated into the Registration Statement. The Registration Statement was

signed by Defendants Orr, Stairs, Erfan, Hanneman, Gonzales, and Peat.

       50.    A technical report on the LGJV was attached to the Registration Statement as an

exhibit (the “Los Gatos Technical Report”) and was cited throughout the Registration Statement

as support for the Company’s forecasts and projections. Accordingly, investors relied heavily on

the accuracy of the Los Gatos Technical Report in deciding whether to purchase and hold shares

of Gatos stock.

The Registration Statement

       51.    The Registration Statement stated:

       The Los Gatos Technical Report, which has an effective date of July 1, 2020,
       estimates that the deposit contains 9.6 million diluted tonnes of proven and probable
       mineral reserves (or 5.0 million diluted tonnes of proven and probable mineral
       reserves on a 51.5% basis), with 6.4 million diluted tonnes of proven mineral
       reserves (or 3.3 million diluted tonnes of proven mineral reserves on a 51.5% basis)
       and 3.3 million diluted tonnes of probable mineral reserves (or 1.7 million diluted
       tonnes of probable mineral reserves on a 51.5% basis). Average proven and
       probable mineral reserve grades are 306 g/t silver, 0.35 g/t gold, 2.76% lead and
       5.65% zinc.



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       52.    With respect to the mineral reserves in the CLG mine, the Registration Statement

provided the following table:




       53.    The Registration Statement further touted the financial prospects of the LGJV:

       Once fully operational, the Cerro Los Gatos Mine is expected to generate average
       [life-of-mine] unlevered, after-tax free cash flow of approximately $76 million per
       year on a 100% basis (or approximately $39 million per year on a 51.5% basis).
       Projected attributable net revenue and free cash flow, as set forth in the Los Gatos
       Technical Report, are presented below:

                                  Projected Net Revenue (in millions)




                           Projected Unlevered Free Cash Flow (in millions)




       54.    While warning that the calculations in the Los Gatos Technical Report were “only

estimates,” the Individual Defendants represented that the commencement of mining operations

would allow the Company to assess the accuracy of such estimates:


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       Mineral reserve and mineral resource calculations at the Cerro Los Gatos Mine and the
       Los Gatos District are only estimates.

       Calculations of mineral reserves the Cerro Los Gatos Mine and of the mineral
       resources at the Los Gatos District are only estimates and depend on geological
       interpretation and statistical inferences or assumptions drawn from drilling and
       sampling analysis, which might prove to be materially inaccurate. There is a degree
       of uncertainty attributable to the calculation of mineral reserves and mineral
       resources. Until mineral reserves and mineral resources are actually mined and
       processed, the quantity of metal and grades must be considered as estimates only
       and no assurance can be given that the indicated levels of metals will be
       produced. In making determinations about whether to advance any of our projects
       to development, we must rely upon estimated calculations for the mineral reserves
       and mineral resources and grades of mineralization on our properties.

       The estimation of mineral reserves and mineral resources is a subjective process
       that is partially dependent upon the judgment of the persons preparing the estimates.
       The process relies on the quantity and quality of available data and is based on
       knowledge, mining experience, statistical analysis of drilling results and industry
       practices. Valid estimates made at a given time may significantly change when new
       information becomes available.

(Emphasis in original).

       55.       On December 8, 2020, Gatos issued a press release announcing its third quarter

2020 financial results. The press release stated, in relevant part:

       The Company reported the following key highlights through September 30, 2020:

             •   Rapid recommissioning of the Cerro Los Gatos (“CLG”) mine following
                 Mexico’s mandated COVID-19 project suspension,
             •   Strong operational and financial results from CLG following a 45-day
                 temporary suspension. The CLG mine was recommissioned in late May
                 2020 with an optimized plan averaging a monthly production rate of 1,750
                 tpd to September 30, 2020,
             •   Record production from the CLG mine - 453,392 ore tonnes were mined in
                 the first nine months of 2020,
             •   Record silver, zinc, and lead metal recoveries at the CLG processing plant
                 during the third quarter 2020 - silver recovery approximated the Los Gatos
                 Technical Report estimated recoveries at 85.1%, while zinc and lead
                 recovery exceeded forecast at 73.9% and 87.3%, respectively,
             •   Record quarterly cash flow generation at the Los Gatos Joint Venture
                 ("LGJV") in the third quarter 2020, and


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              •   Applied for public listing on the NYSE and TSX and successfully
                  completed an initial public offering ("IPO") of 24,644,500 shares, raising
                  gross proceeds of US $172.5 million in the fourth quarter 2020.

        56.       On December 9, 2020, the Company filed its quarterly report on Form 10-Q for the

fiscal quarter ending September 30, 2020. That filing stated that the Company’s “disclosure

controls and procedures were effective as of September 30, 2020.”

False and Misleading Statements Issued During the Relevant Period

        57.       The Relevant Period begins on March 29, 2021, when Gatos issued a press release

announcing its fourth quarter and full year 2020 financial results and its 2021 projections. That

press release stated, in relevant part:

        The Company reported the following key highlights for 2020:

              •   Record production of 652,739 ore tonnes from the Los Gatos Joint Venture
                  (“LGJV”) owned Cerro Los Gatos (“CLG”) mine;
              •   Record silver, gold, zinc and lead metal recoveries at the CLG processing
                  plant by the end of 2020 with silver, gold, zinc and lead recoveries
                  exceeding plan during the fourth quarter;
              •   Designed 2,500 tpd production rate achieved at the CLG mine by end of
                  2020;
              •   Two consecutive profitable quarters to end 2020;
              •   Gross proceeds of $172.5 million raised in the fourth quarter in initial public
                  offering (“IPO”); and
              •   27,000-meter exploration program commenced at CLG in December.

(Emphasis added).

        58.       That same day, Gatos filed its annual report on Form 10-K (the “2020 10-K”).

Under “Risk Factors,” the 2020 10-K warned that “mineral reserve and mineral resource

calculations at the CLG and the Los Gatos District are only estimates and actual production results

may vary significantly from the estimates . . ..” However, the 2020 10-K also stated that production




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activity at the CLG mine supported the purported reliability of the estimates in the Los Gatos

Technical Report:

               References to the “Los Gatos Technical Report” are to the “NI 43-101
       Technical Report: Los Gatos Project, Chihuahua, Mexico,” prepared by Tetra Tech
       Inc. (“Tetra Tech”), dated July 1, 2020, which was prepared in accordance with the
       requirements of subpart 1300 of Regulation S K (the “SEC Mining Modernization
       Rules”) and Canadian National Instrument 43-101 — Standards of Disclosure for
       Mineral Projects (“NI 43-101”). The Los Gatos Technical Report was filed as
       Exhibit 96.1 to our Registration Statement on Form S-1 (File No. 333-249224),
       filed with the SEC on October 1, 2020. The mineral resource estimates contained
       in the Los Gatos Technical Report have an effective date of September 6, 2019 and
       have not been updated since that time. We believe that activity at the CLG
       subsequent to the effective date of the mineral resource estimates would not result
       in a material change to the information contained in the Los Gatos Technical
       Report. The mineral reserve estimates and the economic analysis contained in the
       Los Gatos Technical Report have an effective date of July 1, 2020 and exclude
       655,746 tonnes of mineral reserves that have been mined through June 30, 2020.
       Subsequent to July 1, 2020, 363,857 tonnes of material have been mined through
       December 31, 2020, which we believe would not result in a material change to
       the information contained in the Los Gatos Technical Report.

(Emphasis added). Indeed, the 2020 10-K stated that activities and the results at CLG

“would not result in a material change to the information contained in the Los Gatos

Technical Report” no less than eighteen (18) times in the 2020 10-K.

       59.       The 2020 10-K also reaffirmed that the Company’s “disclosure controls and

procedures were effective as of December 31, 2020.”

       60.       On May 7, 2021, the Company issued a press release announcing its first quarter

2021 financial results (the “1Q2021 Press Release”). That press release stated, in relevant part:

       Key Highlights:

             •   Repurchased an additional 18.5% interest in the Los Gatos Joint Venture
                 ("LGJV"), increasing the Company's LGJV interest to 70%;
             •   Extinguished the $60 million LGJV Working Capital Facility of which
                 Gatos Silver's pro-rata portion was $42 million;
             •   Mined 209,832 tonnes of ore from the Cerro Los Gatos ("CLG") mine;


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             •   Achieved strong metal recoveries at the CLG processing plant with silver
                 recovery averaging 85%, lead recovery averaging 87% and zinc recovery
                 averaging 71%;

The 1Q2021 Press Release further quoted Defendant Orr, then-CEO, as stating:

       Q1 established a strong foundation for 2021 operations. The CLG Project provided
       record revenue for the LGJV and the mine operated at its designed 2,500 tpd
       throughput for each operating day. . . . So far, in the second quarter of 2021, the
       CLG project is performing above expectation as development during Q1 allowed
       CLG to access higher grade ore zones, yielding above budget metal production
       and revenue.

(Emphasis added).

       61.       The same day, Gatos filed its quarterly report on Form 10-Q for the fiscal quarter

ending March 31, 2021, which reaffirmed that the Company’s “disclosure controls and procedures

were effective as of March 31, 2021.”

       62.       On July 7, 2021, Gatos issued a press release, touting the Company’s operating

performance at the CLG mine:

       Gatos Silver achieved strong operating performance in Q2 at the CLG mine which
       produced a quarterly record of 240,047 ore tonnes. The plant achieved record throughput
       processing 230,656 tonnes, exceeding the first quarter 2021 (“Q1”) performance by 13%.

       [Table omitted]

       Stephen Orr, Chief Executive Officer, stated “CLG’s impressive Q2 mine and plant
       performance produced record results. Mine development during Q2 accessed the expected
       higher-grade ore forecast to be mined during 2021 and the plant production averaged a
       record 2,535 tonnes per day, above the design capacity of 2,500 tonnes per day. Record
       recoveries for silver, lead and zinc achieved in the quarter were also well above design.
       The higher tonnage and ore grades combined with the plant’s higher throughput and metals
       recoveries yielded record metals production. As demonstrated by our excellent Q2
       performance, we are progressing well against our 2021 production guidance.”

(Emphasis added).




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        63.       On August 9, 2021, Gatos issued a press release announcing the Company’s second

quarter 2021 financial results (the “2Q2021 Press Release”). That press release stated, in relevant

part:

        Key Highlights:

              •   Achieved record quarterly net income of $13.5 million;
              •   Produced a quarterly record of 2.1 million ounces of silver from the Los Gatos
                  Joint Venture (“LGJV”) Cerro Los Gatos (“CLG”) mine, as well as record lead
                  and zinc production based on record throughput and recoveries;
              •   Achieved record quarterly by-product All-In Sustaining Cost ("AISC") of $12.63
                  per ounce of payable silver
              •   Achieved record LGJV plant throughput of 230,656 tonnes (averaging 2,535 tonnes
                  per day), exceeding first quarter 2021 by 13% and above design capacity;


(Emphasis added).


        64.       The same day, Gatos filed its quarterly report on Form 10-Q for the fiscal quarter

ending June 30, 2021, again affirming that the Company’s “disclosure controls and procedures

were effective as of June 30, 2021.”

        65.       On November 8, 2021, the Company issued a press release announcing its third

quarter 2021 financial results (the “3Q2021 Press Release”). The 3Q2021 Press Release stated, in

relevant part:

        Key Highlights:

              •   Achieved record processing throughput of 234,054 tonnes, averaging
                  2,544 tonnes per day ("tpd") exceeding the 2,500 tpd design capacity at its
                  70%-owned Cerro Los Gatos ("CLG") mine;
              •   Achieved strong metal recoveries at CLG with silver recovery averaging
                  89%, lead recovery averaging 91% and zinc recovery averaging 74%;

(Emphasis added). The 3Q2021 Press Release further stated:




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       LGJV sales for the three and nine months ended September 30, 2021, were $57.0
       million and $178.3 million, respectively. These sales, compared to the same periods
       in 2020, increased primarily as a result of higher metals prices, higher production
       and the two-month Mexican government mandated suspension of all non-essential
       operations during April and May 2020.

(Emphasis added).

       66.     That same day, Gatos field its quarterly report on Form 10-Q for the fiscal quarter

ending September 30, 2021, reiterating that the Company’s “disclosure controls and procedures

were effective as of September 30, 2021.”

       67.     On January 10, 2022, Gatos issued a press release announcing the Company’s

fourth quarter 2021 financial results. That press release stated:

       Silver production in Q4 was 2.3 million ounces and increased 35% compared to the
       third quarter 2021 (“Q3”), due primarily to higher mined silver ore grades as well
       as higher throughput and recoveries. Lead and zinc production in Q4 were slightly
       below Q3 levels, due to lower mined lead and zinc ore grades. CLG’s 2021 silver
       production of 7.6 million ounces exceeded the Company’s guidance of 7.4 million
       ounces. Zinc and lead production of 50 million and 40 million pounds, respectively,
       were both consistent with the Company’s 2021 guidance range.

       CLG achieved record throughput in Q4 totaling 241,397 tonnes, exceeding Q3
       throughput by 3.1%. For 2021, 909,586 tonnes were processed, a 36% increase
       compared to 2020, which included a 45-day pandemic-related temporary
       suspension of plant operations.

       CLG achieved record silver recovery during Q4, with recoveries for silver, lead
       and zinc continuing to exceed design rates.

(Emphasis added).

       68.     The statements identified in ¶¶ 56-73, that were issued and/or caused to be issued

by the Individual Defendants. were materially false and misleading and omitted to state material

adverse facts necessary to make the statements not misleading. The Los Gatos Technical Report

contained material errors that caused an overestimation of metal content in the CLG mine by 30%



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to 50%, and the mineral reserve estimates underlying much of the Company’s forecasts were

overstated by as much as 50%. Therefore, actual results of the activities at the CLG mine did not

support the purported reliability of the estimates in the Los Gatos Technical Report, and the

Individual Defendants’ positive statements regarding the Company’s business, operations, and

prospects lacked a reasonable basis.

The Truth Emerges

       69.     On January 25, 2022, after the market closed, Gatos disclosed “errors in the [LGJV]

technical report . . . , as well as indications that there is an overestimation in the existing resource

model.” The Company further revealed that it had overestimated the metal content in the CLG

mine by 30 to 50%. The Company’s press release further stated:

       During the Company’s resource and reserve update process for the Los Gatos Joint
       Venture (“LGJV”), which included a detailed reconciliation of recent production
       performance, the Company concluded that there were errors in the technical report
       entitled “Los Gatos Project, Chihuahua, Mexico” with an effective date of July 1,
       2020 (the “2020 Technical Report”), as well as indications that there is an
       overestimation in the existing resource model.

       On a preliminary basis, the Company estimates a potential reduction of the metal
       content of CLG’s mineral reserve ranging from 30% to 50% of the metal content
       remaining after depletion. Since the 2020 Technical Report, depletion is 1.3 million
       tonnes grading 284 g/t silver, 3.9% zinc, 2.3% lead and 0.3 g/t gold that has been
       processed from July 1, 2020 to December 31, 2021. At this time, the Company
       cannot accurately quantify the exact magnitude of the reduction, and the mineral
       resource and reserve estimates in the 2020 Technical Report should not be relied
       upon.

       The Company is working with independent engineering consultants to better
       understand the magnitude of the overestimation, including conducting a detailed
       reconciliation of production to previous models and reserve calculation estimates,
       as well as creating a new Life of Mine (“LOM”) plan. The Company is working
       expeditiously to complete this reconciliation. Given the complex nature of the
       reconciliation, Gatos Silver anticipates that it will complete its work in the second
       half of 2022.



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(Emphasis added).

       70.     On this news, the price of Gatos’s stock declined 69% in just one day, closing at

$3.17 per share on January 26, 2022, on unusually heavy trading volume. While the price of

Gatos’s stock was materially inflated throughout the Relevant Period due to the Individual

Defendants’ false and misleading statements, the disclosure on January 25, 2022 caused the

Company’s share price to fall to less than half of the $7.00 per share IPO price.

                 DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       71.     Plaintiff brings this action derivatively for the benefit of Gatos to redress injuries

suffered and to be suffered as a proximate result of the Individual Defendants’ breaches of

fiduciary duties and other violations of law.

       72.     Plaintiff will adequately and fairly represent the interests of Gatos and its

stockholders in enforcing and prosecuting its rights.

       73.     Plaintiff is an owner of Gatos common stock and has been a continuous holder of

the Company’s common shares at all relevant times.

       74.     At the time this action was commenced, the eight-member Board was comprised

of Defendants Stairs, Hanneman, Peat, Hansard, Gonzales, Erfan, and Quintanilla, along with

Dale Andres, who succeeded Defendant Orr as Gatos’s CEO in April 2022 and is not a party to

this action. Accordingly, Plaintiff is only required to show that four Directors cannot exercise

independent objective judgment about whether to bring this action or whether to vigorously

prosecute this action. As set forth below, all of the Board’s current directors, and if not all, at

least seven, are incapable of making an independent and disinterested decision to institute and

vigorously prosecute this action, including because they face a substantial likelihood of liability,



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and so demand on the Board to institute this action is not necessary because such a demand

would have been a futile act.

        75.     The Individual Defendants, together and individually, violated and breached their

fiduciary duties of candor, good faith, and loyalty. Specifically, the Individual Defendants

knowingly approved and/or permitted the wrongs alleged herein and participated in efforts to

conceal those wrongs. The Individual Defendants authorized and/or permitted the false statements

to be disseminated directly to the public and made available and distributed to shareholders,

authorized and/or permitted the issuance of various false and misleading statements, and are

principal beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully

prosecute such a suit even if they instituted it.

        76.     The Individual Defendants either knowingly or recklessly issued or caused the

Company to issue the materially false and misleading statements alleged herein. The Individual

Defendants knew of the falsity of the misleading statements at the time they were made. As a result

of the foregoing, the Individual Defendants breached their fiduciary duties, face a substantial

likelihood of liability, are not disinterested, and demand upon them is futile, and thus excused.

        77.     As members of the Board charged with overseeing the Company’s affairs, each of

the Individual Defendants had knowledge, or the fiduciary obligation to inform themselves, of

information pertaining to the Company’s core operations and the material events giving rise to

these claims. Specifically, as Board members of Gatos, the Individual Defendants knew, or should

have known, the material facts surrounding the Los Gatos Joint Venture and the mineral reserves

in the Cerro Los Gatos mine.




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       78.     Moreover, the Individual Defendants willfully ignored, or recklessly failed to

inform themselves of, the obvious problems with the Company’s internal controls, practices, and

procedures, and failed to make a good faith effort to correct the problems or prevent their

recurrence.

       79.     Defendants Peat, Stairs, and Hansard are not disinterested or independent, and

therefore, are incapable of considering a demand because they serve as members of the Audit

Committee and, pursuant to the Audit Committee Charter, were specifically charged with the

responsibility to assist the Board in fulfilling its oversight responsibilities related to, inter alia,

public disclosure requirements. Throughout the Relevant Period, however, these Defendants

breached their fiduciary duties to the Company by failing to prevent, correct, or inform the Board

of the issuance of material misstatements and omissions regarding the mineral reserves in the CLG

mine and the adequacy of the Company’s internal controls as alleged above. Therefore, Defendants

Peat, Stairs, and Hansard cannot independently consider any demand to sue themselves for

breaching their fiduciary duties to the Company, as that would expose them to substantial liability

and threaten their livelihood.

       80.     Additionally, each of the directors received payments, benefits, stock options, and

other emoluments by virtue of their membership on the Board and their control of the Company.

       81.     The Individual Defendants, as members of the Board, were and are subject to the

Company’s Code of Conduct. The Code of Conduct goes well beyond the basic fiduciary duties

required by applicable laws, rules, and regulations, requiring the Individual Defendants to also

adhere to Gatos’s standards of business conduct. The Individual Defendants violated the Code of

Conduct because they knowingly or recklessly engaged in and participated in making and/or



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causing the Company to make the materially false and misleading statements alleged herein.

Because the Individual Defendants violated the Code of Conduct, they face a substantial likelihood

of liability for breaching their fiduciary duties, and therefore demand upon them is futile.

       82.     Furthermore, demand in this case is excused because the Individual Defendants

derive substantial revenue from the Company, control the Company, and are indebted to each

other. These conflicts of interest precluded the Individual Defendants from adequately monitoring

the Company’s operations and internal controls and calling into question the Individual

Defendants’ conduct. Thus, any demand on the Individual Defendants would be futile.

       83.     The Individual Defendants’ conduct described herein and summarized above could

not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the directors can claim exculpation

from their violations of duty pursuant to the Company’s charter. As a majority of the directors face

a substantial likelihood of liability, they are self-interested in the transactions challenged herein.

They cannot be presumed to be capable of exercising independent and disinterested judgment

about whether to pursue this action on behalf of the shareholders of the Company. Accordingly,

demand is excused as being futile.

       84.     The acts complained of herein constitute violations of fiduciary duties owed by

Gatos’s officers and directors, and these acts are incapable of ratification.

       85.     The Individual Defendants may also be protected against personal liability for their

acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

liability insurance if they caused the Company to purchase it for their protection with corporate

funds i.e., monies belonging to the stockholders of Gatos. If there is a directors’ and officers’



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liability insurance policy covering the Individual Defendants, it may contain provisions that

eliminate coverage for any action brought directly by the Company against the Individual

Defendants, known as, inter alia, the “insured-versus-insured exclusion.” As a result, if the

Individual Defendants were to sue themselves or certain officers of Gatos, there would be no

directors’ and officers’ insurance protection. Accordingly, the Individual Defendants cannot be

expected to bring such a suit. On the other hand, if the suit is brought derivatively, as this action

is brought, such insurance coverage, if such an insurance policy exists, will provide a basis for the

Company to effectuate a recovery. Thus, demand on the Individual Defendants is futile and,

therefore, excused.

       86.     If there is no directors’ and officers’ liability insurance, then the directors will not

cause Gatos to sue the Defendants named herein, since, if they did, they would face a large

uninsured individual liability. Accordingly, demand is futile in that event as well.

       87.     Thus, for all of the reasons set forth above, all of the directors, and, if not all of

them, certainly at least eight of them, cannot consider a demand with disinterestedness and

independence. Consequently, a demand upon the Board is excused as futile.

                                             COUNT I

                              Claim for Breach of Fiduciary Duties
                               Against the Individual Defendants

       88.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       89.     The Individual Defendants owed the Company fiduciary obligations. By reason of

their fiduciary relationships, the Individual Defendants owed the Company the highest obligation

of good faith, fair dealing, loyalty, and due care.




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       90.     The Individual Defendants violated and breached their fiduciary duties of care,

loyalty, reasonable inquiry, and good faith.

       91.     The Individual Defendants engaged in a sustained and systematic failure to properly

exercise their fiduciary duties. Among other things, the Individual Defendants breached their

fiduciary duties of loyalty and good faith by permitting the use of inadequate practices and

procedures to guide the truthful dissemination of Company news to the investing public and to the

Company’s shareholders, allowing or permitting false and misleading statements to be

disseminated in the Company’s SEC filings and other disclosures, and otherwise failing to ensure

that adequate internal controls were in place regarding the serious business reporting issues and

deficiencies described above. These actions could not have been a good faith exercise of prudent

business judgment to protect and promote the Company’s corporate interests.

       92.     As a result of the misconduct alleged herein, the Individual Defendants are liable

to the Company. As a direct and proximate result of the Individual Defendants’ breach of their

fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate

image and goodwill. Such damage includes, among other things, costs incurred in defending itself

in the Securities Class Action, exposing the Company to millions of dollars in potential class-wide

damages in the Securities Class Action, and damage to the share price of the Company’s stock,

resulting in an increased cost of capital, and reputational harm.

       93.     Plaintiff, on behalf of Gatos, has no adequate remedy at law.




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                                            COUNT II

                                  Claim for Unjust Enrichment
                                Against the Individual Defendants

       94.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       95.     By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of Gatos.

       96.     The Individual Defendants were unjustly enriched by their receipt of bonuses, stock

options, or similar compensation from Gatos that was tied to their performance or to the artificially

inflated valuation of Gatos.

       97.     Plaintiff, as a stockholder and representative of the Company, seeks restitution from

the Individual Defendants, and seeks an order of this Court disgorging all profits, benefits, and

other compensation obtained by the Individual Defendants as a result of their wrongful conduct

and fiduciary breaches.

       98.     As a direct and proximate result of the Individual Defendants’ misconduct, the

Company has suffered significant damages, as alleged herein.

               99.      Plaintiff, on behalf of Gatos, has no adequate remedy at law.

                                            COUNT III

                     Claim for Violations of § 10(b) of the Exchange Act and
                         Rule 10b-5 Against the Individual Defendants

       100.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       101.    The Individual Defendants violated Section 10(b) of the Exchange Act, 15 U.S.C.

§ 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.




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       102.    The Individual Defendants, individually and in concert, directly or indirectly,

disseminated or approved the materially false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

       103.    The Individual Defendants violated Section 10(b), of the Exchange Act and Rule

10b-5 in that they: (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading; or

(iii) engaged in acts, practices, and a course of business that operated as a fraud or deceit upon

Plaintiff and others similarly situated.

       104.    The Individual Defendants acted with scienter because they: (i) knew that the public

documents and statements issued or disseminated in the name of Gatos were materially false and

misleading; (ii) knew that such statements or documents would be issued or disseminated to the

investing public; and (iii) knowingly and substantially participated or acquiesced in the issuance

or dissemination of such statements or documents as primary violations of the securities laws.

       105.    The Individual Defendants by virtue of their receipt of information reflecting the

true facts of Gatos, their control over, and/or receipt and/or modification of Gatos’s allegedly

materially misleading statements, and/or their associations with the Company which made them

privy to confidential proprietary information concerning Gatos, participated in the fraudulent

scheme alleged herein.




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       106.    As a result of the foregoing, the market price of Gatos common stock was

artificially inflated during the relevant time period. In ignorance of the falsity of the statements,

Plaintiff relied on the statements described above and/or the integrity of the market price of Gatos

common stock in purchasing Gatos common stock at prices that were artificially inflated as a result

of these false and misleading statements and were damaged thereby.

       107.    In addition, as a result of the wrongful conduct alleged herein, the Company has

suffered significant damages, including the costs and expenses incurred in defending itself in the

Securities Action and reputational harm. The Individual Defendants, through their violation of

Section 10(b) of the Exchange Act (15 U.S.C. § 78j(b)) and Rule 10b-5, have exposed the

Company to millions of dollars in potential class-wide damages in the Securities Action.

                                            COUNT IV

                Claim for Contribution under § 11(f) of the Securities Act and
                § 21D of the Exchange Act Against the Individual Defendants

       108.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       109.    As a result of the misconduct alleged above, the Company is a defendant in the

Securities Class Action, in which it is a joint tortfeasor in claims brought under Sections 11 and

15 of the Securities Act.

       110.    Federal law provides Gatos with a cause of action against other alleged joint

tortfeasors under Section 11(f) of the Securities Act.

       111.    The plaintiffs in the Securities Class Action allege that the Company’s Registration

Statement, filed with the SEC in connection with its IPO, contained untrue statements of material

facts and omitted to state material facts necessary to make the statements not misleading.




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       112.    Gatos is the registrant for the IPO, and the Individual Defendants named herein

were responsible for the contents and dissemination of the Registration Statement.

       113.    As issuer of the shares, Gatos is strictly liable to the plaintiffs in the Securities Class

Action for the misstatements and omissions alleged therein.

       114.    The plaintiffs in the Securities Class Action allege that none of the defendants

named therein made a reasonable investigation or possessed reasonable grounds for the belief that

the statements contained in the Registration Statement were true and not misleading.

       115.    The Individual Defendants, because of their positions of control and authority as

officers and directors of Gatos, were able to and did, directly and/or indirectly, exercise control

over the business and corporate affairs of Gatos, including the wrongful acts complained of herein

and in the Securities Class Action.

       116.    Accordingly, the Individual Defendants are liable pursuant to Section 11(f) of the

Securities Act (15 U.S.C. § 77k(f)(1)) which creates a private right of action for contribution, and

Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)) which governs the application of a private

right of action for contribution arising out of violations of the Securities Act.

       117.    Gatos is entitled to receive all appropriate contribution or indemnification from the

Individual Defendants.

                                      PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and



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setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Proxy Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or

necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

 Dated: November 9, 2023                            s/Karen Cody-Hopkins
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